                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CASE NO. 5:23-cv-00059

 Crown Equipment Corporation
 ________________________________ )
                                  )
                  Plaintiff(s),   )
 v.                               )
                                  )
 ________________________________ )
 Brady, et. al.
                                  )
                  Defendant(s).   )

                              DISCLOSURE BY PARTY OR INTERVENOR
                                      IN A DIVERSITY CASE

This disclosure must be filed on behalf of each party or intervenor to an action in which
jurisdiction is based on diversity under 28 U.S.C. § 1332(a). Counsel has a continuing duty
to update this information. An executed form should be electronically filed. The disclosing
party must file this disclosure at the time of the party’s first appearance, pleading, petition,
motion, response, or other request addressed to the Court. The disclosing party also must
serve this form on the other parties to the action.

  United Finishing Systems, LLC                         Defendant
                                               who is
 (Name of Party)                                           (Plaintiff / Defendant/Movant/Intervenor)


 makes the following disclosures:

      1.           Is the party identified above an individual?

                   ___ YES
                                               X
                                               ___ NO

             If the answer is “YES,” identify the State citizenship of that
      individual:

                      _______________________________

           If the answer is “NO,” proceed to question No. 2 below.




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       2.       Identify the name and State citizenship of every individual or entity
                whose citizenship is attributable 1 to the party identified above:

                Name of Individual/Entity                        Citizenship
                 Alwyn Otho Moody III
                _______________________________                  North Carolina
                                                                 ______________
                 William Anthony Brady                           North Carolina
                _____________________________________            _________________
                 Michael Lee Richmond
                _____________________________________
                                                                 North Carolina
                                                                 _________________
                 Brian Christopher Gregory
                _____________________________________
                                                                 North Carolina
                                                                 _________________

                _____________________________________            _________________

                _____________________________________            _________________

                _____________________________________            _________________

                _____________________________________            _________________




            s/ Tomi M. Suzuki                                7/24/24
            Signature of Attorney                            Date




1 “For purposes of diversity jurisdiction, the citizenship of a limited liability company . . . is

determined by the citizenship of all of its members.” Cent. W. Va. Energy Co., Inc. v. Mountain
State Carbon, LLC, 636 F.3d 101, 103 (4th Cir. 2011). When members are LLCs themselves,
the citizenship issues must be traced through until one reaches only individuals and/or
corporations. See Jennings v. HCR ManorCare, Inc., 901 F.Supp.2d 649, 651 (D.S.C. 2012)
(“an LLC’s members’ citizenship must be traced through however many layers of members
there may be”).

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